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                                                                                              2014 Sep-02 PM 03:49
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION

Martin Perrusquia,                              )
                                                )
        Plaintiff,                              )
                                                )
v.                                              )       CASE NO. CV-14- BE-1542-S
                                                )
El Poblano Mexican Restaurant, Inc.             )       Jury Trial Demanded
and Fidel Castro                                )
                                                )
        Defendants.                             )


                            Answer of Defendants with Jury Demand

        Defendant, El Poblano Mexican Restaurant, Inc. and Fidel Castro, demanding trial by jury,

answer the Complaint as follows:

                                         FIRST DEFENSE
                                        Admission and Denial

        The allegations of the complaint are admitted and denied paragraph by paragraph as

follows:

        Unnumbered: It is admitted that the action is filed under the Fair Labor Standards Act of

1938 and that the Plaintiff seeks unpaid wages, overtime, and liquidated damages, together with

attorney's fees. It is denied that the Plaintiff is entitled to any such relief.

                                    JURISDICTION & VENUE

        1.      Jurisdiction is conferred upon this Court by 29 U.S.C. §2l6(b) of the Fair Labor

Standards Act, by 29 U.S.C. §1331, this action arising under laws of the United States, and by 28

U.S.C. §1337, this action arising under Acts of Congress regulating commerce.

RESPONSE: Admit.

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        2.      Venue in this Court is proper pursuant to 28U.S.C. §1391(b).

RESPONSE: Admit.

        3.      Upon information and belief the defendant, El Poblano Mexican Restaurant, Inc., is

an Alabama corporation which employed the plaintiff to labor for its benefit in this District. Upon

information and belief the defendant, Fidel Castro, is a resident of Shelby County, Alabama, which

employed the plaintiff to labor for his benefit in this District.

RESPONSE: Admit first sentence. Deny second sentence.

        4.      The cause of action set forth in this Complaint arose in this District.

RESPONSE: Admit.

                                              PARTIES

A.      Plaintiff

        5.      The plaintiff, Martin Perrusquia, is over the age of nineteen (19), is a resident of the

State of Alabama currently a resident of Jefferson County, Alabama, and is not currently employed

by the defendants.

RESPONSE: Defendants lack sufficient knowledge or information to form a belief about the

truth of the allegations of residency but admit the allegations of age and not employed by

defendants.

        6.      During all times relevant to this Complaint, the plaintiff Martin Perrusquia was an

employee of the defendants and was subject to the full protection of the Fair Labor Standards Act.

RESPONSE: Admit plaintiff was once an employee of El Poblano Mexican Restaurant, Inc. and

deny the remainder.




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B.      Defendants

        7.          The defendants, El Poblano Mexican Restaurant, Inc. and Fidel Castro, conduct

their business in Shelby County, Alabama.

RESPONSE: Admit El Poblano Mexican Restaurant, Inc. conducts business in Shelby County

and deny the remainder.

        8.          The defendants, El Poblano Mexican Restaurant, Inc. and Fidel Castro, are engaged

in operating a restaurant.

RESPONSE: Admit El Poblano Mexican Restaurant, Inc. is engaged in operating a restaurant

and deny the remainder.

        9.          The defendants, El Poblano Mexican Restaurant, Inc. and Fidel Castro, are an

enterprise engaged in interstate commerce for the purposes of the Fair Labor Standards Act with

gross sales in excess of $500,000.00.

RESPONSE: Admit El Poblano Mexican Restaurant, Inc. is an enterprise engaged in interstate

commerce and deny the remainder.

        10.         The defendants, El Poblano Mexican Restaurant, Inc. and Fidel Castro, are

considered an employer within the meaning of the Fair Labor Standards Act, 42 U.S.C. §203(d),

and is not exempt under the Act.

RESPONSE: Admit El Poblano Mexican Restaurant, Inc. is an employer and is not exempt under

the Act and deny the remainder.

        11.         The defendant Fidel Castro is an owner/operator of El Poblano Mexican

Restaurant, Inc., and supervised the plaintiff during his course of employment with the defendants.

Fidel Castro established the payroll policies of El Poblano Mexican Restaurant, Inc. with respect

to the plaintiff.
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RESPONSE: Admit Castro is an owner of the corporation El Poblano Mexican Restaurant, Inc.,

supervised plaintiff, and set payroll policies. Deny the remainder.

       12.     The defendants are individually and jointly subject to the jurisdiction of the Fair

Labor Standards Act.

RESPONSE: Deny. The Act has no such “jurisdiction.”

       13.     The defendants are so closely associated and managed that they can be considered

joint employers. The plaintiff was, as a matter of economic reality, dependent on each of the

defendants for their work and wages -- each defendant determined the hours worked and wages

received by the plaintiff, and any of the defendants could have terminated the plaintiff’s

employment.

RESPONSE: Deny.

                                  FACTUAL ALLEGATIONS

       14.     The plaintiff, Martin Perrusquia, is an adult resident of the State of Alabama,

residing in Jefferson County. The plaintiff Martin Perrusquia, was employed by the defendants

beginning on or around May of 2013 and left on or around June 2014. The plaintiff would note that

his dates of employment are approximations, and he will be relying upon the discovery process to

determine his exact dates of employment.

RESPONSE: Defendants lack sufficient knowledge or information to form a belief about the

truth of the allegations of residency. The allegations concerning dates of employment are denied.

       15.     The plaintiff Martin Perrusquia, was an employee who was engaged in interstate

commerce, engaged in the production of goods for commerce and/or employed in an enterprise

engaged in commerce or in the production of goods for commerce.

RESPONSE: Admit.
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       16.     The plaintiff was not paid the federal minimum wage for certain hours worked for

the defendants, as required by 29 U.S.C. §206.

RESPONSE: Denied.

       17.     The plaintiff was regularly directed and required to work more than 40 hours per

week for the benefit of the defendant.

RESPONSE: Admit.

       18.     Despite regularly working more than 40 hours per week, the plaintiff was not paid

at the premium overtime rate for overtime work as required by 29 U.S.C. §207(a).

RESPONSE: Denied.

       19.     The duties performed by the plaintiff would not have caused them to be exempt

from the protections of the Fair Labor Standards Act. Martin Perrusquia worked as a cook.

RESPONSE: Denied. Plaintiff was a dishwasher.

       20.     The violations were not of the nature that the defendants can be found to have acted

in good faith in paying the plaintiff. The defendants did not pay the plaintiff sufficient wages for

the vast majority of his employment. Rather, the plaintiff was forced to work for less than the

minimum wage. Furthermore, the plaintiff was forced to work for less than the minimum overtime

wage rate, for every hour over 40 per week.

RESPONSE: Denied

       21.     Upon information and belief, as around May 2013, the earliest date from which the

plaintiff can claim damages in this action, the defendants were aware of the minimum wage and

overtime provisions of the Fair Labor Standards Act. However, the defendants willfully and

intentionally chose not to pay sufficient wages to the plaintiff in conscious disregard of the

requirements of the FLSA. Further evidence of the defendants' willful and intentional choice not to
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pay sufficient wages to the plaintiff in conscious disregard of the requirements of the FLSA, lies in

the fact that the defendants paid the plaintiff a wage (albeit an insufficient wage that is less than the

current minimum wage). The defendants constructed a payment scheme with the outward

trappings of compliance with, but designed to circumvent the protections of the Fair Labor

Standards Act.

RESPONSE: Admit Defendants knew of the existence of the Act, but not all of its provisions.

The remaining allegations are denied.

        22.      Fidel Castro was involved in the operations and day-to-day management of the

defendant El Poblano Mexican Restaurant, Inc., and set the payroll practices and procedures for

said entity. Defendants have been in the restaurant industry for several years prior to 2012 and

have experience in all facets of the business of running a restaurant. All named defendants were

aware of their obligations under the Fair Labor Standards Act prior to May 2013.

RESPONSE: Admit the first and second sentences. Deny the third sentence.

        23.      Throughout the plaintiff’s period of employment with the defendants, the

defendants willfully violated the FLSA by failing to keep accurate records showing all the time

they permitted or required the plaintiff to work, and failing to keep adequate records of the

plaintiff’s wages and withholdings.

RESPONSE: Denied.

                                    COUNT ONE
                    VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

        24.      The plaintiff, Martin Perrusquia, re-alleges paragraphs 1 through 23 as though fully

set forth herein.

RESPONSE: Denied.

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        25.     The defendants, El Poblano Mexican Restaurant, Inc. and Fidel Castro, have

willfully failed to compensate the plaintiff for hours worked during the period of their

employment.

RESPONSE: Denied.

        26.     The plaintiff was not exempt from the protections of the Fair Labor Standards Act.

RESPONSE: Denied.

        27.     The defendants, El Poblano Mexican Restaurant, Inc. and Fidel Castro, by such

failure, have willfully violated the minimum wage provisions of the Fair Labor Standards Act, 29

U.S.C. §206.

RESPONSE: Denied.

                                    COUNT TWO
                    VIOLATIONS OF THE FAIR LABOR STANDARDS ACT

        28.     The plaintiff, Martin Perrusquia, re-alleges paragraphs 1 through 27 as though fully

set forth herein.

RESPONSE: Denied.

        29.     The defendants. El Poblano Mexican Restaurant, Inc. and Fidel Castro, have

willfully failed to compensate the plaintiff for hours worked during the period of their

employment.

RESPONSE: Denied.

        30.     The plaintiff was not exempt from the protections of the Fair Labor Standards Act.

RESPONSE: Denied.




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       31.     The defendants, El Poblano Mexican Restaurant, Inc. and Fidel Castro, by such

failure, have willfully violated the minimum wage provisions of the Fair Labor Standards Act, 29

U.S.C. §206.

RESPONSE: Denied.

                                      SECOND DEFENSE
                                         Not Guilty

       Not guilty of the matters and things alleged in the Complaint. Strict proof is demanded.

       WHEREFORE, the Defendant requests the Court to enter judgment in favor of the

Defendant and against the Plaintiff with the Plaintiff taking nothing.



                                              /s/Lewis W. Page, Jr.
                                              LEWIS W. PAGE, JR.
                                              Attorney for Defendants El Poblano Mexican
                                              Restaurant, Inc. and Fidel Castro

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                               CM/ECF CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2014, I electronically filed the foregoing with the Clerk of
the Court using the CM/ECF system which will send notification to the following:

E. Nathan Harris, Esq.
Barber Harris, LLC
1560 Montgomery Highway, Suite 207
Birmingham, AL 35216

and I hereby certify that I have mailed by United States Postal Service the document to the following
non-CM/ECF participants: None.

                                                /s/Lewis W. Page, Jr.
                                                Of Counsel




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